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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                11/6/2020
---------------------------------------------------------------X
JAMES LASTRA,                                                  :   16-CV-3088 (JGK) (RWL)
                                                               :
                                    Plaintiff,                 :   ORDER
                                                               :
                  - against -                                  :
                                                               :
CITY OF NEW YORK, et al.,                                      :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        This order resolves Defendants’ letter application dated October 28, 2020 (Dkt.

222) asking the Court to compel Plaintiff to (1) pay the past-due $125 of the sanction

imposed on him, which remains unpaid in violation of previous court orders, and (2)

comply with certain discovery obligations with which he was previously ordered to comply.

The Court issued an order on October 28, 2020, directing that if Plaintiff wished to

respond, he must do so by November 4, 2020, or the Court will resolve Defendants’

application on the current record. No response from Plaintiff appears on the docket.

Accordingly, the Court resolves Defendants’ application as follows:

        1. No later than November 30, 2020, Plaintiff shall provide to Defendants a copy

of the Section 160.50 Release as required by Local Civil Rule 83.10 in usable form without

additional markings.          Failure to comply will result in sanctions, which may include

dismissal of the action with prejudice.

        2. With respect to Defendants’ request that Plaintiff be compelled to confirm

whether or not he has searched for, located, and produced all text messages, video

recordings, or audio recordings relevant to his claims, and all factual evidence related to



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his alleged damages or loss of income; and further that Plaintiff produce any such material

not previously produced, Plaintiff is given one last chance to comply with those demands

by November 30, 2020. Failure to comply will result in sanctions, including at least

precluding Plaintiff from introducing any evidence (either on summary judgment or trial)

not produced by that time.

         3. No later than November 30, 2020, Plaintiff shall provide to Defendants the

information requested regarding the photograph he e-mailed on July 21, 2020. Failure to

provide the information will result in sanctions, including at least precluding Plaintiff from

introducing the photograph into evidence (either on summary judgment or at trial).

         4. Plaintiff shall pay to Defendants the remaining $125 sanction no later than

February 1, 2021. No further extensions.

         A status conference will be held in early December.

                                           SO ORDERED.



                                           ROBERT W. LEHRBURGER
                                           UNITED STATES MAGISTRATE JUDGE

Dated:         New York, New York
               November 6, 2020

Copies transmitted to all counsel of record and to pro se Plaintiff James Lastra.




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